                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE

 UNITED STATES OF AMERICA                         )
                                                  )
                                                  )       No. 3:08-CR-46
 V.                                               )       (PHILLIPS/SHIRLEY)
                                                  )
                                                  )
 KATRINA SOUTO                                    )

                      ORDER OF TEMPORARY DETENTION
               PENDING HEARING PURSUANT TO BAIL REFORM ACT


               The defendant appeared before the undersigned on May 13, 2008, for an initial

 appearing and arraignment. David Jennings, Assistant United States Attorney, was present

 representing the government, and Boyd Venable was present representing the defendant.

 During the course of the hearing, the government requested detention. The Court granted the

 defendant’s request to continue the detention hearing. 18 U.S.C. § 3142(f). The defendant

 shall be held in custody by the United States Marshal until Thursday, May 15, 2008, at 1:00

 p.m., before the undersigned and shall be produced for the detention hearing.

               For good cause shown, the defendant’s request not to contest, and to waive the

 detention hearing is hereby GRANTED.

               It is therefore ORDERED that:

               (1)    Defendant be detained.;

               (2)    Defendant be committed to the custody of the Attorney
                      General for confinement in a corrections facility separate, to
                      the extent practicable, from persons awaiting or serving
                      sentences or being held in custody pending appeal;




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            (3)   Defendant be afforded reasonable opportunity for private
                  consultation with counsel; and

            (4)   On order of a court of the United States or on request of an
                  attorney for the government, the person in charge of the
                  corrections facility in which the defendant is confined
                  deliver the defendant to a United States marshal for the
                  purpose of an appearance in connection with any court
                  proceeding.

            IT IS SO ORDERED.


                                ENTERED:
                                         s/ C. Clifford Shirley, Jr.
                                       United States Magistrate Judge




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